Case 3:10-cr-00117-O Document 24 Filed 09/29/10   Page 1 of 6 PageID 85
Case 3:10-cr-00117-O Document 24 Filed 09/29/10   Page 2 of 6 PageID 86
Case 3:10-cr-00117-O Document 24 Filed 09/29/10   Page 3 of 6 PageID 87
Case 3:10-cr-00117-O Document 24 Filed 09/29/10   Page 4 of 6 PageID 88
Case 3:10-cr-00117-O Document 24 Filed 09/29/10   Page 5 of 6 PageID 89
Case 3:10-cr-00117-O Document 24 Filed 09/29/10   Page 6 of 6 PageID 90
